      Case 8:22-cv-00425-DOC-DFM Document 11 Filed 03/21/22 Page 1 of 1 Page ID #:34
AO 121 (Rev. 06/16)
TO:

                  Register of Copyrights                                                               REPORT ON THE
                   U.S. Copyright Office                                                       FILING OR DETERMINATION OF AN
                101 Independence Ave. S.E.                                                            ACTION OR APPEAL
                Washington, D.C. 20559-6000                                                        REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        G
        ✔ ACTION               G APPEAL                                  United States District Court - Central District of California
                                                                         411 West 4th Street
DOCKET NO.                          DATE FILED
                                                                         Santa Ana, California 92701
 2:22-cv-425-DOC-DFM                          3/20/2022
PLAINTIFF                                                                             DEFENDANT
Jacob L. Nygard p/k/a Cake Nygard, Donglee Han, Clare                                 Taylor Whitley p/k/a Taylor.WTF
Maguire, and Antonius Wiriadjaja p/k/a Food Masku



       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OR WORK
    REGISTRATION NO.

1 Unknown                           Unknown                                                                     Taylor Whitley

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill           G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OF WORK
    REGISTRATION NO.

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                            DATE



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